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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


YASHICA ROBINSON, M.D.,            )
et al., on behalf of               )
themselves, their                  )
patients, physicians,              )
clinic administrators,             )
and staff,                         )
                                   )
     Plaintiffs,                   )
                                   )         CIVIL ACTION NO.
     v.                            )           2:19cv365-MHT
                                   )                (WO)
STEVEN MARSHALL, in his            )
official capacity as               )
Alabama Attorney General,          )
et al.,                            )
                                   )
     Defendants.                   )

                                ORDER

    Based on the parties’ joint status report (doc. no.

159), it is ORDERED as follows:

    (1) All deadlines in this case with regard to the

plaintiffs’ challenge to the “medical restrictions” in

the March 27 and April 3 orders are postponed until the

parties file another joint status report.                 With regard

to this challenge, the court will not take any further
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action until after May 16, 2020.

    (2) The parties are to file another joint status

report by no later than 5:00 p.m. on May 16, 2020.

    DONE, this the 6th day of May, 2020.


                                    /s/ Myron H. Thompson
                                 UNITED STATES DISTRICT JUDGE
